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                                                                             2019 Feb-20 PM 03:00
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

MICHELLE POAGUE, et al.,               )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )         7:18-cv-00005-LSC
                                       )
HUNTSVILLE WHOLESALE                   )
FURNITURE D/B/A ASHLEY                 )
FURNITURE HOMESTORE, et al.,           )
                                       )
      Defendant.                       )

                          MEMORANDUM OF OPINION

      Plaintiffs Michelle Poague (“Poague”), Sherita Holley (“Holley”),

Lakendria Coleman (“Coleman”), Katarda Bishop (“Bishop”) , and Lorrie Acker

(“Acker”) (collectively “Plaintiffs”) bring claims against Defendants Huntsville

Wholesale Furniture d/b/a Ashley Furniture Homestore         (“Ashley”), Taylor

Swinney (“Swinney”), Jason Seavers (“Seavers”), and Daniel Hannan

(“Hannan”) (collectively “Defendants”) arising from Plaintiffs’ employment at

Ashley’s Tuscaloosa store. Before this Court are Hannan, Seavers, Swinney, and

Ashley’s respective motions to dismiss. (Docs. 25, 26, 28, & 29.) Plaintiffs have




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timely filed their opposition. 1 The motions are fully briefed and ripe for review. For

the reasons stated below, Hannan’s Motion to Dismiss (doc. 25) is due to be

granted, Seavers’s Motion to Dismiss (doc. 26) is due to be denied, Swinney’s

Motion to Dismiss (doc. 28) is due to be denied, and Ashley’s Motion to Dismiss

(doc. 29) is due to be granted in part and denied in part.

    I.     BACKGROUND 2

         Ashley is a home furniture store with a number of locations throughout

Alabama. During the time in question, Plaintiffs and Defendants Swinney and

Seavers worked at Ashley in Tuscaloosa. Swinney was the Store’s General

Manager, and Seavers was Ashley’s Director of Stores. Poague, Holley, Coleman,

and Acker worked as product specialists at Ashley in Tuscaloosa. Product

specialists at Ashley were paid an hourly rate plus commissions. In addition to their

regular duties, product specialists are regularly required to hand out flyers, but they

are not allowed to clock in while they hand out flyers. (Doc. 18 ¶ 79.) Additionally,

Acker was once asked to come in and complete a sale, but was told she would not

1
        The Court acknowledges that Plaintiffs’ brief was non-compliant with this Court’s
Orders. (Docs. 27 & 32.) Although Plaintiffs’ brief was non-compliant, the Court will consider
Plaintiffs’ response when ruling on the various motions to dismiss.
2
        In evaluating a motion to dismiss, the Court “accept[s] the allegations in the complaint as
true and construe[s] them in the light most favorable to the plaintiff.” Lanfear v. Home Depot,
Inc., 679 F.3d 1267, 1275 (11th Cir. 2012). The following facts are, therefore, taken from
Plaintiff’s allegations contained in the amended complaint, and the Court makes no ruling on
their veracity.
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be allowed to clock in while she completed the sale. Bishop worked as a cashier at

Ashley, but she was employed through Express Temp Agency (“Express”). Bishop

was paid a flat rate of ten dollars an hour.

      Plaintiffs allege that Swinney and other male supervisors and co-workers at

Ashley created a hostile work environment by consistently making sexually charged

remarks and explicit statements towards employees and customers at Ashley.

Swinney is alleged to have called attractive women, including customers,

“Omahas” or “IHOPs.” (Id. ¶¶ 32, 136.) Swinney is also alleged to have called

the Store’s Assistant Manager James Rigsby (“Rigsby”) “raw-dog” or “raw-jaw”

because Rigsby did not use condoms. (Id. ¶ 35.) On one occasion Swinney called

Bishop his work wife, and on another he threw money at Bishop and told her he

was going to “make it rain.” (Id. ¶¶ 162, 165.) On another occasion, Swinney

grabbed his crotch in front of Bishop and asked her if she wanted “deez nuts.” (Id.

¶¶ 174, 178-79.) Swinney once held Bishop’s hand in front of customers and on

another occasion leaned over Bishop in order to press his genitals into her back. (Id.

¶¶ 158, 162.) Acker was also subject to physical advances by Swinney. Swinney is

alleged to have touched Ackers breasts as he walked by her on two separate

occasions and to have once touched Acker’s buttocks as he walked by her. (Id. ¶




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36.) In response to a complaint about his behavior, Swinney stated that “if

[plaintiff] can’t take the heat, then get out of the room.” (Id. ¶ 53.)

      Rigsby and product specialist Sam Gibson (“Gibson”) are also alleged to

have engaged in harassing activity. Rigsby is alleged to have spoken openly about

having sex with two girls at one time, showed his co-workers texts with nude

pictures he received from a customer that described sex acts, discussed his love for

pregnant female’s breasts and his desire to feed from them, talked about his use of

condoms, and relayed other graphic sexual stories to other employees at Ashley.

(Id. ¶¶ 39-44.) Gibson is alleged to have openly discussed his love for amateur porn

with co-workers, said he “want[ed] those customers” who were trying out the

mattresses, told Poague she “blows,” and talked about “how disgusting it is to

‘f***k white chicks.” (Id. ¶¶ 48-51.) Additionally, male co-workers are alleged to

have played a video of a man talking about “licking girls’ booties.” (Id. ¶ 52.)

      Swinney is also alleged to have shown favoritism to male employees at

Ashley. For example, Swinney did not follow store policy of sending walk-in

customers to different product specialists. Instead, Swinney sent all walk-in

customers to male product specialists. (Id. ¶¶ 56-57.) Swinney also approved sales

by male product specialists at much lower sales margins than female product

specialists at Ashley were allowed to offer. (Id. ¶¶ 59-60.) Additionally, Swinney


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checked only female product specialists’ sales margins, assigned female’s sales to

male product specialists, and refused to give female employee their “Sales by

Salesperson” details, which would have allowed Plaintiffs to track their earnings.

(Id. ¶¶ 61-63, 65.) Swinney also required female employees at Ashley to sign in and

out of breaks, and disciplined female employees more harshly than male employees

who missed work. (Id. ¶¶ 70, 71, 73-74.) For example, Swinney suspended

Coleman for three days after she was five minutes late to work, but did not suspend

a male employee who failed to show up for an entire day of work. (Id. ¶ 73.)

Swinney is also alleged to have spoken only to female employees about violations of

Ashley’s dress code. (Id. ¶ 75.)

      Poague and Holley specifically allege that they were also subject to

discrimination due to their pregnancies. In October 2015, Poague had a child and

requested FMLA leave. (Id. ¶ 80.) Poague was not eligible for FMLA leave, so she

took vacation for the birth of her child. (Id. ¶ 81.) Poague returned to work at

Ashley in January 2016. Although Poague’s previous manager had promised to

provide her with a private place to express breast milk, Swinney told Poague she

could express milk in the community room. The community room has a number of

cameras because it contains clearance merchandise that customers at Ashley could

purchase. (Id. ¶¶ 85-86.) As a result of not having a private place to express milk,


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Poague had to travel between home and work to express milk. (Id. ¶ 88.)          This

travel caused Poague to have to hand over sales she initiated to co-workers and lose

wages because she was not able to be on the sales floor. (Id. ¶¶ 89-92.) Poague

tried to take FMLA leave so that she could care for her son, who was having

problems developing because Poague could not feed him as often as needed. Even

though Poague had in fact become eligible for FMLA leave, Swinney and Seavers

told Poague that she was ineligible for FMLA leave. (Id. ¶¶ 103-05.) Swinney then

told Poague she needed to work more hours, and that he did not care that her hours

were reduced because she lacked a private place to express milk. (Id. ¶¶ 97-98.)

       In February 2016, all product specialists received a one dollar per hour raise.

(Id. ¶ 95.) Holley was excluded from this raise. Holley was then told she was not

given this raise because she was on maternity leave. (Id. ¶¶ 96, 113.) In July 2016,

Poague was granted FMLA leave to care for her child. When Poague went on

FMLA leave her pending sales and deliveries were assigned to male colleagues, and

Swinney told her she would be placed on a disciplinary performance plan upon her

return from leave. (Id. ¶¶ 107-09.) In August 2016, Danny Pastor was hired at a

rate one dollar per hour higher than Holley’s pay rate. (Id. ¶¶ 110-11.)

      Poague returned from FMLA leave on October 1, 2016, and was immediately

placed on a disciplinary performance plan. (Id. ¶¶ 124-25.) Additionally, Poague


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discovered that her finger print no longer worked on the time clock, she no longer

had an inbox, and that she would not be given a tablet or leather binder for her sales

as other employees had been given. (Id. ¶ 128.) Poague was then written up for not

meeting the terms of her disciplinary performance plan. (Id. ¶129.) Although

Poague was written up, her sales were among the top ten in the nation for Ashley

during one of the weeks. (Id. ¶ 130.)

      In November 2016, Poague complained about Swinney’s behavior to HR.

(Id. ¶ 132.) In December 2016, Poague filed an EEOC charge about Swinney’s

behavior. (Id. ¶ 134.) After Poague filed her charge, Swinney called her into his

office and confronted her. (Id. ¶ 134.) Swinney then took Poague’s target cards,

told other managers that he had to approve any sales Poague made, interfered with

Poague’s sales orders and deliveries, and changed Poague’s commission plan. (Id.

¶¶ 141-43, 146, 149.) Swinney told a male colleague that he wanted “‘to get rid of’

Poague.” (Id. ¶ 149.) Later in December 2016, HR interviewed Coleman about

Swinney’s behavior. In the interview, Coleman told HR about Swinney’s behavior

and his treatment of female employees at Ashley. (Id. ¶ 150.)

      In January 2017, Holley and Coleman filed EEOC charges against Ashley for

Swinney’s actions. (Id. ¶¶ 152, 154.) Swinney then stated he would get rid of

Coleman after he got rid of Poague. (Id. ¶ 155.) In that same month, Bishop


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complained to Ashley’s Office Manager Mia Washington (“Washington”) about

Swinney, stating that he made her uncomfortable because he would touch her and

invade her personal space. (Id. ¶ 156.) In February 2017, due to the ongoing nature

of Swinney’s conduct, Poague supplemented her EEOC charge and emailed staff

and managers at Ashley about the conditions there. (Id. ¶ 160.) In March 2017,

Bishop again complained about Swinney to Washington. (Id. ¶ 163.) Bishop’s hours

were then cut from fifty to forty hours a week. (Id. ¶ 168.) In that same month,

Acker filed an EEOC charge concerning Swinney’s behavior. After Acker filed her

charge, Swinney refused to assist her with sales. (Id. ¶ 172.)

      In April 2017, Bishop complained to Express about Swinney’s behavior

because Ashley had not addressed her complaints and Swinney continued to make

advances towards her. (Id. ¶¶ 173, 176.) The day after she lodged her complaint

with Express, Bishop recorded Swinney making comments to her about his genitals

and asking her if she wanted “deez nutz.” (Id. ¶¶ 178-80.)       Bishop played this

recording for Express. (Id. ¶ 184.) Ashley terminated Swinney shortly thereafter.

(Id. ¶ 182)

      After Swinney was terminated, Acker interviewed for another position at

Ashley in Tuscaloosa. (Id. ¶ 185.) At this time, Counsel for Plaintiffs had been

obtained and Ashley’s Attorney Hannan had received notice that Plaintiffs were


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represented. (Id. ¶ 183.) During her interview, Acker met with Seavers and

Hannan, who claimed to represent HR for Ashley. (Id. ¶¶ 187-88.)               In the

interview, Hannan asked Acker about Poague’s claims and Swinney’s actions,

including whether Swinney had done anything to her. (Id. ¶¶ 190-95.) After the

interview, Hannan told Acker she could only have the job if she signed the

paperwork he presented to her at the very moment. (Id. ¶ 196.)This paperwork

included waivers of Acker’s claims, a statement against Poague, and a document

retracting her EEOC charge. (Id. ¶ 275.) Acker signed the paperwork and was

rehired. (Id. ¶ 200.)

   II.      STANDARD

         In general, a pleading must include “a short and plain statement of the claim

showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). However, in

order to withstand a motion to dismiss pursuant to FED. R. CIV. P. 12(b)(6), a

complaint “must plead enough facts to state a claim to relief that is plausible on its

face.” Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1347–48 (11th Cir. 2016) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (internal quotation marks

omitted). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Stated


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another way, the factual allegations in the complaint must be sufficient to “raise a

right to relief above the speculative level.” Edwards v. Prime, Inc., 602 F.3d 1276,

1291 (11th Cir. 2010). A complaint that “succeeds in identifying facts that are

suggestive enough to render [the necessary elements of a claim] plausible” will

survive a motion to dismiss. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1296 (11th Cir.

2007) (quoting Twombly, 550 U.S. at 556) (internal quotation marks omitted).

      In evaluating the sufficiency of a complaint, this Court first “identif[ies]

pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.” Iqbal, 556 U.S. at 679. This Court then “assume[s] the[]

veracity” of the complaint’s “well-pleaded factual allegations” and “determine[s]

whether they plausibly give rise to an entitlement to relief.” Id. Review of the

complaint is “a context-specific task that requires [this Court] to draw on its

judicial experience and common sense.” Id. If the pleading “contain[s] enough

information regarding the material elements of a cause of action to support

recovery under some ‘viable legal theory,’” it satisfies the notice pleading

standard. Am. Fed’n of Labor & Cong. of Indus. Orgs. v. City of Miami, 637 F.3d 1178,

1186 (11th Cir. 2011) (quoting Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d

678, 683–84 (11th Cir. 2001)).




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   III.     DISCUSSION

            a. SHOTGUN PLEADING

      Rule 8(a)(2) requires a complaint to include “a short and plain statement of

the claim showing the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). Rule

10(b) further provides:

      A party must state its claims or defenses in numbered paragraphs,
      each limited as far as practicable to a single set of circumstances. A
      later pleading may refer by number to a paragraph in an earlier
      pleading. If doing so would promote clarity, each claim founded on a
      separate transaction or occurrence–and each defense other than a
      denial—must be stated in a separate count or defense.

FED. R. CIV. P. 10(b).

      Complaints that violate these rules are often referred to as shotgun

pleadings. The Eleventh Circuit has identified four rough “categories” of shotgun

pleadings that are prohibited. Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d

1313, 1323 (11th Cir. 2015). The Eleventh Circuit has described complaints that fall

into the following categories as shotgun pleadings:

      [1.] a complaint containing multiple counts where each count adopts
      the allegations of all preceding counts, causing each successive count
      to carry all that came before and the last count to be a combination of
      the entire complaint….[2.] a complaint that does not commit the
      mortal sin of re-alleging all preceding counts but is guilty of the venial
      sin of being replete with conclusory, vague, and immaterial facts not
      obviously connected to any particular cause of action….[3. a complaint
      that] commits the sin of not separating into a different count each
      cause of action or claim for relief. [4.]…[a complaint] asserting

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        multiple claims against multiple defendants without specifying which
        of the defendants are responsible for which acts or omissions, or which
        of the defendants the claim is brought against.

Id. at 1321-23 (footnotes omitted).The common denominator in all these forms of

“shotgun pleadings is that they fail to one degree or another, and in one way or

another, to give the defendants adequate notice of the claims against them and the

grounds upon which each claim rests.” Id. at 1323.

        Defendants allege that Plaintiffs’ amended complaint has indicia of all four

categories of shotgun pleading and is therefore due to be dismissed. Although

Plaintiffs’ amended complaint is often disorderly and vague, it does not rise to the

level of an impermissible shotgun pleading. Plaintiffs’ amended complaint does

incorporate all prior paragraphs into each claim. However, these references are also

accompanied by a specific incorporation of facts tailored to the specific claims.

While Plaintiffs’ amended complaint may bear some resemblance to a shotgun

pleading, “this is not a situation where a failure to more precisely parcel out and

identify the facts relevant to each claim materially increased the burden of

understanding the factual allegations underlying each count.” Weiland, 792 F.3d at

1324.

        To the extent Defendants’ argue they are impermissibly “lumped” together

in each count, the Court finds that Plaintiffs’ amended complaint is sufficiently


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plead to provide notice to Defendants as to what claims are being asserted against

each defendant. Plaintiffs’ amended complaint does, in several instances, refer to

“Defendant” or “Defendants” generally without specifying which Defendant is

being referred to in each count. However, Plaintiffs identify which Defendants they

are asserting their claims against in the caption of each count. Although the

captions of the counts in the complaint are not part of the statement of claim under

Rule 8, the Court will not require Plaintiffs to re-plead their complaint simply

because Defendants seek to have the same information provided by the caption

repeated within the numbered paragraphs of the amended complaint. 3

       Defendants also argue that Plaintiffs’ amended complaint is shotgun

pleading because its factual allegations are too conclusory and vague. However,

Defendants’ argument in this regard is unavailing because it appears that

Defendants are asking this Court to require Plaintiffs to provide more factual

allegations about their allegations. Defendants’ argument would be convincing

were this case at the summary judgment stage. Plaintiffs are required at the motion

to dismiss stage to give defendants sufficient notice of the grounds for plausible

claims against them, no more and no less.


3
        To the extent Plaintiffs may later try and assert a claim against a current defendant not
specifically named within the current caption of a count in amended complaint, the Court notes
that the Plaintiffs will need this Court’s permission to amend their complaint and assert any of
these claims against a party not referenced in the current captions.
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      If Plaintiffs’ amended complaint was a shotgun pleading, it would be

“difficult to understand what the Defendants ‘were alleged to have done and why

they were liable for doing it.’” See Downing v. Midland Funding, LLC, No. 2:15-cv-

00737-RDP, 2016 WL 125861, at *3 (N.D. Ala. Jan. 12, 2016) (quoting Wright v.

Watson, No. 15-cv-34(CDL), 2015 WL 4873381, at *3 (M.D. Ga. Aug. 13, 2015)).

Defendants have provided this Court with extensive briefing regarding the merits

of Plaintiffs’ factual allegations and their sufficiency to maintain a claim. Therefore,

to the extent Defendants claim they do not have sufficient notice, the Court finds

that their briefing suggests otherwise. Ultimately, the amended complaint and the

facts therein “are informative enough to permit a court to readily determine if they

state a claim upon which relief can be granted,” and are thus not due to be

dismissed as an impermissible shotgun pleading. Weiland, 792 F.3d at 1326.

          b. IMPLIED MOTION TO STRIKE

      Swinney asks this Court in his briefing to strike allegations in Plaintiffs’

amended complaint that (1) Washington “told Bishop [that] Swinney has been

accused of inappropriate sexual conduct with a minor,” and (2) that “[a]nother

female product specialist, not listed as a plaintiff, and not named in the complaint,

is afraid to come forward for fear of losing her job.” (Doc. 18 ¶¶ 77, 166.); (Doc. 28

at 12, 27.) A motion to strike is appropriate under FED. R. CIV. P. 12(f) for “any


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insufficient defense or any redundant, immaterial, impertinent, or scandalous

matter.” Id. Motions to strike factual allegations are disfavored and “will usually be

denied unless the allegations have no possible relation to the controversy and may

cause prejudice to one of the parties.” Augustus v. Bd. of Pub. Instruction of Escambia

Cty, Fla., 306 F.2d 862, 868 (5th Cir. 1962). 4

       While Swinney argues these allegations are prejudicial, he has failed to

demonstrate to the Court that these allegations have no relation to the claims

pending before the Court. Plaintiffs have brought a number of claims against

Ashley for both its own actions and Swinney’s actions. These claims include a

sexual harassment and retaliation claims. The allegations Swinney challenge relate

to Plaintiffs’ claims as they demonstrate possible knowledge by Ashley about

inappropriate Swinney’s conduct, and a possible work environment where

retaliation occurred. Swinney may be correct that these facts will not bear out in

discovery or ultimately be produced in an admissible form. Yet, the Court is not

tasked with predetermining such issues based on the face of Plaintiffs’ amended

complaint. Therefore, Swinney’s implied motion to strike these allegations is due

to be denied.



4
        In Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down
before October 1, 1981.
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         c. TITLE VII

      Title VII of the Civil Rights Act of 1964 prohibits employers from

discriminating “against any individual with respect to . . . terms, conditions, or

privileges of employment, because of such individual’s . . . sex.” 42 U.S.C. §

2000e-2(a)(1). Plaintiffs allege that they were subject to (1) sexual harassment, (2)

disparate treatment, and (3) retaliation in violation of Title VII. Poague and Holley

also assert that they were subject to unlawful discrimination in violation of the

Pregnancy Discrimination Act.

                i. SEXUAL HARASSMENT-HOSTILE WORK ENVIRONMENT

      “A complaint in an employment discrimination case need not contain

specific facts establishing a prima facie case under the evidentiary framework for

such cases to survive a motion to dismiss.” Henderson v JP Morgan Chase Bank,

N.A., 436 Fed. App’x 935, 937(11th Cir. 2011) (citing Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 510-12 (2002)). A plaintiff adequately pleads a claim for hostile work

environment if she alleges (1) she belongs to a protected group; (2) she was

subjected to unwelcome harassment; (3) the harassment was based on a protected

characteristic; (4) the harassment was sufficiently severe or pervasive to alter the

terms and conditions of her employment and create an abusive working

environment; and (5) a basis exists for holding the employer liable. Trask v. Sec'y,


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Dep't of Veterans Affairs, 822 F.3d 1179, 1195 (11th Cir. 2016). Ashley argues that

(1) Plaintiffs have failed to provide sufficient factual allegations to bring a sexual

harassment claim, and (2) Plaintiffs’ factual allegations do not rise to the level of

creating a hostile work environment.

       Plaintiffs allege facts indicating that their supervisors Swinney and Rigsby,

as well other male employees, frequently talked in graphic detail about sex, made

derogatory and sexually charged comments towards them and female customers,

and at times engaged in unwanted physical contact with some of the Plaintiffs.

Plaintiffs have also alleged facts indicating that Ashley was aware of Swinney’s

actions, but that it did not take action until Bishop played a recording of Swinney’s

comments for Express. Although Ashley alleges that many of these factual

allegations are too conclusory and vague to state a claim, the facts are alleged with

sufficient particularity to meet the pleading standard in Rule 8.

      To the extent Ashley seeks to have this claim dismissed on the basis that the

conduct alleged is not sufficiently severe or pervasive, the determination of

whether this conduct rises to the level of severe or pervasive is, in this Court’s

view, a finding that is more appropriately made at the summary judgment stage




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when discovery has been completed. Thus, Ashley’s motion to dismiss is due to be

denied as to Plaintiffs’ sexual harassment-hostile work environment claim. 5

                  ii. GENDER DISCRIMINATION-DISPARATE TREATMENT

       Disparate treatment claims under Title VII “all require proof of

discriminatory intent.” Vessels v. Atlanta Indep. Sch. Sys., 408 F.3d 763, 767 (11th

Cir. 2005). To show intent, the plaintiff may rely on direct or circumstantial

evidence. Burke–Fowler v. Orange Cty, Fla., 447 F.3d 1319, 1323 (11th Cir.2006). To

show intent through circumstantial evidence, the plaintiff may rely on the

framework in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–804 (1973). Id.

at 1562. A prima facie case requires a plaintiff to show that: “(1) he belongs to a

[protected class]; (2) he was subjected to adverse job action; (3) his employer

treated similarly situated employees outside his classification more favorably; and

(4) he was qualified to do the job.” Id. “Although a Title VII complaint need not

allege facts sufficient to make out a classic McDonnell Douglas prima facie case, it

must provide enough factual matter (taken as true) to suggest intentional[]

discrimination.” Davis v. Coca–Cola Bottling Co. Consol., 516 F.3d 955, 974 (11th

Cir.2008) (internal citations and quotations omitted) abrogated on other grounds by


5
         Ashley seeks dismissal of Plaintiff Holley’s sexual harassment claim because she is not
referenced as a direct victim of the alleged harassment. The Court finds that there are sufficient
factual allegations to support Holley’s claim, even if she was not directly subject to Swinney’s
advances. See Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d 798 (11th Cir. 2010).
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Iqbal, 556 U.S. at 662; See Surtain v. Hamlin Terrace Foundation, 789 F.3d 1239,

1246 (11th Cir. 2015).

      Ashley asserts that Plaintiffs’ disparate treatment claims are due to be

dismissed because they fail to provide sufficient facts to state a claim. Upon review,

Plaintiffs have alleged sufficient facts, if taken as true, that suggest intentional

discrimination by Ashley in terms of discipline and the allocation of compensation.

See Surtain, 789 F.3d at 1246 (noting a plaintiff need not plead a prima facie case

“because McDonnell Douglas’s burden-shifting framework is an evidentiary

standard, not a pleading requirement.”). For example, Plaintiff allege facts

indicating that male product specialists were assigned more walk in customers,

subject to less stringent rules on attendance and dress code, and given more

latitude in making sales. Therefore, Ashley’s motion is due to be denied as to

Plaintiffs’ disparate treatment claims.

               iii. RETALIATION

      To establish a claim for retaliation, a plaintiff must plead that (1) she was

engaged in statutorily protected activity; (2) she suffered an adverse employment

action; and (3) a causal link exists between the protected activity and the adverse

employment action. Furcron v. Mail Ctrs. Plus, LLC, 843 F.3d 1295, 1310 (11th Cir.

2016). The law does not require Plaintiffs to make a formal complaint to engage in


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statutorily protected activity as an informal complaint that “explicitly or implicitly

communicate[s] a belief that [the conduct suffered by the plaintiff] constitutes

unlawful employment discrimination” may be considered protected activity. Id. at

1311. 6

          Ashley asserts that it is entitled to dismissal of Plaintiffs’ retaliation claims

because Plaintiffs do not allege when they complained and to whom they

complained. (Doc. 30 at 26.) Upon review, the amended complaint contains factual

allegations concerning how and when all of the Plaintiffs did in fact complain or

engage in what could be considered statutorily protected activity, which includes

filing an EEOC charge. (See Doc. 18 ¶¶ 112, 132, 150, 163, 169, 176.)

          Ashley also argues that Plaintiffs’ claims are due to be dismissed because

there is no evidence or factual allegations indicating that these actions were adverse

or that there is any causal connection. The Court’s review of the amended

complaint finds that the facts as alleged plausibly indicate that Acker, Bishop,

Coleman, Holley and Poague engaged in protected activity and were subject to




6
         Informal complaints that communicate a belief that unlawful discrimination is occurring
constitute protected activity if they are made by an individual that has a good faith, reasonable
belief that unlawful discrimination is occurring. See Id. Questions about whether the conduct
satisfies the additional “good faith, reasonable belief” requirement is a matter to be assessed at
the summary judgment stage.

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adverse actions. Plaintiffs have also alleged sufficient facts to indicate a plausible

causal link as these adverse actions occurred close in time to their complaints.

      Although Ashley argues that Bishop’s claim is subject to dismissal because

she did not engaged in protected activity until after she left Ashley, the Court notes

that the facts alleged indicate that Bishop complained about Swinney to Ashley, in

what could be considered protected activity, in March 2017 and that her hours were

cut shortly thereafter. (Id. ¶¶ 163, 168.) Therefore, Ashley’s argument that

Bishop’s retaliation claim should be dismissed is unavailing, and Ashley’s motion is

due to be denied as to Plaintiff’s retaliation claims.

               iv. PREGNANCY DISCRIMINATION

      The Pregnancy Discrimination Act (“PDA”), added to the Civil Rights Act

in 1978, specifies that discrimination based on sex includes discrimination “because

of or on the basis of pregnancy, childbirth, or related medical conditions.” 42

U.S.C. § 2000e(k). It requires that “women affected by pregnancy, childbirth, or

related medical conditions. . . be treated the same for all employment-related

purposes . . . as other persons not so affected but similar in their ability or inability

to work.” Id. Pregnancy discrimination claims use the same analysis as other Title

VII sex discrimination cases. Armstrong v. Flowers Hosp., Inc., 33 F.3d 1308, 1312-13

(11th Cir. 1994). To state a prima facie case for pregnancy discrimination, Plaintiff


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must establish that “(1) she [was pregnant]; (2) she was qualified for her position;

(3) she suffered an adverse employment action; and (4) employment or disciplinary

policies were differently applied to her.” Chapter 7 Trustee v. Gate Gourmet, Inc.,

683 F.3d 1249, 12555 (11th Cir. 2012).

       Ashley first appears to argue that both Poague and Holley’s pregnancy

discrimination claims are untimely because their EEOC charges were filed a year

after they were pregnant. The PDA does not provide protections only during one’s

pregnancy. 42 U.S.C. § 2000e(k)(“The terms ‘because of sex’ or ‘on the basis of

sex’ include, but are not limited to, because of or on the basis of pregnancy,

childbirth, or related medical conditions; and women affected by pregnancy,

childbirth, or related medical conditions shall be treated the same for all

employment-related purposes.”); see Hicks v. City of Tuscaloosa, 870 F.3d 1253,

1258 (11th Cir. 2017) (finding that lactation is a pregnancy related medical

condition covered by the PDA). Therefore, the gap between the birth of Plaintiffs’

children and the filing of Plaintiffs’ EEOC charges does not necessarily indicate

that Plaintiffs’ charges were untimely.7

       Ashley also argues that Poague and Holley’s factual allegations lack

sufficient detail to state a claim. In regard to Holley’s PDA claim, Plaintiffs have
7
       Ashley offers no legal argument that Plaintiffs claims were untimely other than asserting
that Poague and Holley’s EEOC charges were filed a year after their pregnancy.


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alleged sufficient facts to state a claim. Plaintiffs allege facts indicating that Holley

was pregnant, denied a pay raise while on maternity leave, and told that she was

denied this raise specifically because she was on maternity leave.

      Plaintiffs have also alleged sufficient facts to bring a plausible PDA claim on

Poague’s behalf. The PDA does not require employers “to give special

accommodations to breastfeeding mothers.” Hicks, 870 F.3d at 1260. Instead

employers are only required to treat pregnant employees the same as “other

persons not so affected but similar in their ability or inability to work.” 42 U.S.C. §

2000e(k); see Hicks, 870 F.3d at 1261 (finding that a valid PDA claim existed when

plaintiff “showed that other employees with temporary injuries were given

‘alternative duty,’ and [plaintiff]     merely requested to be granted the same

alternative duty.”). Certainly, Plaintiffs have not alleged facts indicating that

Poague was treated differently from others who had a similar “ability or inability to

work.”

      However, the amended complaint provides factual allegations that plausibly

suggest intentional pregnancy discrimination occurred. Poague alleges that

Swinney told her she needed to work more hours and that he “did not care” that

she was on a reduced schedule because she had to return home to express milk.

(Doc. 18 ¶ 104.) Poague also alleges that Swinney and Seavers told her she was not


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qualified for leave to care for her child and that she should “quit to focus on her

family.” (Id. ¶ 105.) Once Poague returned from leave due to issues related to her

pregnancy, she was subject to additional scrutiny by Swinney for her time off and a

loss in compensation as the sales she made prior to her leave were credited to other

male product specialists. Poague does not have to plead a prima facie case to survive

a motion to dismiss as long as she includes sufficient facts to suggest that

intentional discrimination based on her pregnancy. Poague has done so. Thus,

Ashley’s Motion is due to be denied as to Poague and Holley’s pregnancy

discrimination claim.

         d. FMLA RETALIATION AND INTERFERENCE

      Poague brings claims against Ashley for violation of the Family and Medical

Leave Act (“FMLA”). The FMLA entitles eligible employees to leave from work

for certain reasons, including when an employee’s child is suffering from a “serious

health condition.” See 29 U.S.C. § 2612(a)(1)(C). “To preserve the availability of

these rights, and to enforce them, the FMLA creates two types of claims:

interference claims, in which an employee asserts that [her] employer denied or

otherwise interfered with his substantive rights under the (FMLA)...and retaliation

claims, in which an employee asserts that [her] employer discriminated against




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[her] because he engaged in activity protected by the [FMLA].” Strickland v. Water

Works and Sewer Bd. of City of Birmingham, 239 F.3d 1199, 1206 (11th Cir. 2001).

                  i. INTERFERENCE

        To plead an interference claim, a plaintiff must allege that “[she] was

denied a benefit to which [she] was entitled to under the FMLA…and that she has

been prejudiced by the violation in some way.” Evans v. Books-A-Million, 762 F.3d

1288, 1295 (11th Cir. 2014) (quoting Martin v. Brevard Cty. Public Schools, 543 F.3d

1261, 166-67 (11th Cir. 2008)). An employee does not have to prove “that [her]

employer intended to deny the benefit....”Hurlbert v. St. Mary's Health Care

System, Inc., 439 F.3d 1286, 1293 (11th Cir. 2006). Instead, a plaintiff “need only

demonstrate some harm remediable by either ‘damages’ or ‘equitable relief.’”

Evans, 762 F.3d at 1296.

       Plaintiffs have alleged sufficient facts for Poague bring a claim for FMLA

interference. The amended complaint indicates that Poague was eligible for FMLA

leave and that her request for leave was denied by Swinney and Seavers even

though she was eligible for leave. 8 Although Poague was later granted FMLA leave,

Poague has alleged sufficient facts that plausibly suggest she was prejudiced by this



8
     Ashley does not contest Plaintiffs’ assertion that Poague was covered by and eligible for
FMLA leave.

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denial. Therefore, Ashley’s motion is due to be denied as to Poague’s FMLA

interference claim.

                ii. RETALIATION

       A plaintiff establishes a prima facie case of retaliation under the FMLA by

showing that: “(1) [s]he engaged in statutorily protected activity; (2) [s]he

experienced an adverse employment action; and (3) there is a causal connection

between the protected activity and the adverse action.” Hurlbert, 439 F.3d at 1297;

see Brungart v. BellSouth Telecomms., Inc., 231 F.3d 791, 798 (11th Cir. 2000) (noting

that the Eleventh Circuit uses the McDonnell Douglas framework for FMLA

retaliation claims).

      Here, Poague has alleged facts indicating that she took FMLA leave and that

upon her return she was subject to number of adverse actions, including a loss of

income as commissions she earned prior to her FMLA leave were assigned to other

product specialists. The facts as alleged also indicate a plausible causal connection

as the alleged adverse actions occurred during and closely after Poague’s return

from FMLA leave. See Jones v. Gulf Coast Healthcare of Delaware, 854 F.3d 1261,

1261 (11th Cir. 2017). Thus, Ashley’s motion is due to be denied as to Poague’s

FMLA retaliation claim.




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         e. FLSA

                i. EQUAL PAY ACT

      Plaintiffs allege that Ashley violated the Equal Pay Act (“EPA”) in regard to

Holley’s compensation. The EPA provides that:

       No employer having employees subject to any provisions of this
      section shall discriminate, within any establishment in which such
      employees are employed, between employees on the basis of sex by
      paying wages to employees in such establishment at a rate less than the
      rate at which he pays wages to employees of the opposite sex….

29 U.S.C. § 206 (d)(1). To plead an EPA violation, the plaintiff must allege facts

indicating “that the employer paid employees of opposite genders different wages

for equal work for jobs which require equal skill, effort, and responsibility, and

which are performed under similar working conditions.” Steger v. Gen. Elec. Co.,

318 F.3d 1066, 1077–78 (11th Cir. 2003) (citations and quotations omitted). “Once

a prima facie case is demonstrated, to avoid liability the employer must prove by a

preponderance of the evidence that the differential is justified by one of four

exceptions set forth in the EPA.” Irby v. Bittick, 44 F.3d 949, 954 (11th Cir. 1995).

The exceptions to the EPA are: “(i) a seniority system; (ii) a merit system; (iii) a

system which measures earnings by quantity or quality of production; or (iv) a

differential based on any other factor other than sex.” 29 U.S.C. § 206(d)(1).




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      Upon review, Plaintiffs have not alleged sufficient facts to state a plausible

claim for a violation of the EPA in regard to Holley’s compensation. Plaintiffs’

factual allegations indicate that “[i]n August 2016, [Ashley] hired Danny Pastor at

$10.00 per hour,” that “Holley was paid $1.00 less per hour than Pa[s]tor,” and

that “[w]hen Pastor was hired, Holley learned of the disparate pay and

complained.” (Doc. 18 ¶¶110-13, 257.) Noticeably missing from Plaintiffs’ factual

allegations are any facts indicating that Pastor was hired to the same position as

Holley or that he performed a job that required “equal skill, effort, and

responsibility” as Holley’s position and that this job was “performed under similar

working conditions.” 29 U.S.C. § 206(d). Therefore, Ashley’s motion to dismiss is

due to be granted as to Holley’s EPA claim.

               ii. MINIMUM WAGE

      Plaintiffs also allege that Ashley did not pay them minimum wage in violation

of the FLSA because product specialists were regularly required to hand out flyers

without being allowed to clock in, and Acker had to come in on an off day to

complete a sale but was not allowed to clock in while completing the sale. A prima

facie case of an FLSA violation requires a showing that “as a matter of just and

reasonable inference… the wages paid to [plaintiff] did not satisfy the requirements

of the FLSA.” Donovan v. New Floridian Hotel, Inc., 676 F.2d 468, 475 n.12 (11th


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Cir. 1982). Under 29 U.S.C. § 206(a), an employer must pay an employee the

federal minimum wage of $7.25 per hour worked during each workweek. For

purposes of § 206, “the relevant pay period is determined from the actual pattern

of payments adopted by the parties.” Olson v. Superior Pontiac-GMC, Inc., 765 F.2d

1570, 1577 (11th Cir. 1985), modified, 776 F.2d 265 (11th Cir. 1985) (internal

quotations and citations omitted). A pay period may be weekly, bi-monthly,

monthly, or even longer. Id. at 1575.

      Here, Plaintiffs allege facts indicating that Ashely did not pay them when

they were required to hand out flyers, and that Ashley would not always pay

employees, including the Plaintiffs, when they were completing sales on their off

days. These facts plausibly suggest that Plaintiffs were not paid for their work in

accordance with the FLSA. Therefore, Ashley’s motion is due to be denied as to

Plaintiffs’ minimum wage claims.

               iii. 29 U.S.C. § 207(R)

      Poague alleges that Ashley violated the FLSA when it denied her a private

place to express breast milk in violation of Section 7 of the FLSA, 29 U.S.C. §

207(r)(1) (“§207(r)”). Section 207(r)(1) provides that employers shall provide:

      (A) a reasonable break time for an employee to express breast milk for
      her nursing child for 1 year after the child's birth each time such
      employee has need to express the milk; and


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       (B) a place, other than a bathroom, that is shielded from view and free
       from intrusion from coworkers and the public, which may be used by
       an employee to express breast milk.

29 U.S.C. § 207(r)(1). “[A]n employer [is] not [] required to compensate an

employee receiving reasonable break time [to express breast milk] for any work

time spent for such purpose.” 29 U.S.C. § 207(r)(2). Accordingly, Section 207(r)

provides no additional right to damages beyond those under the FLSA, i.e. unpaid

minimum wages or unpaid overtime compensation. Therefore, courts have found

in their interpretation of §207(r) that employees may only recover for unpaid

minimum wage or overtime wages due as a result of a violation of §207(r). See

Hicks v. City of Tuscaloosa, No. 7:13-cv-02063-TMP, 2015 WL 6123209 at * 28-30

(N.D. Ala. Oct. 19, 2015)(citing Lico v. TD Bank, No. 14-cv-4729(JFB)(AKT), 2015

WL 3467159 at * 3-4 (E.D. N.Y. June 1, 2015)). 9

       Upon review, Poague has alleged sufficient facts to plead a violation of

§207(r) for which she can recover. Poague alleges facts indicating that she was not

provided a private place to express milk and that as a result she had to leave work to

express milk. Because Poague had to leave to express milk, she had to turn sales

over to her colleagues and missed out on sales that she could have made had she

been at work. See Lico, 2015 WL 3467159, at *3-4 (finding that a plaintiff alleged

9
       The Eleventh Circuit has yet to rule on the issue of damages recoverable under §207(r).
See Miller v. Roche Sur. And Cas. Co., Inc., 502 Fed. App’x 891, 893 (11th Cir. 2012).
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cognizable damages when the amended complaint included allegations that plaintiff

“missed time at work because she needed to travel home in order to express

milk.”) Therefore, Ashley’s motion is due to be denied as to Poague’s claim for

under § 207(r) of the FLSA.

          f. CONSTRUCTIVE DISCHARGE

      Poague, Holley, Acker, and Bishop allege that they were constructively

discharged due to the conditions at Ashley. To bring a claim for constructive

discharge, a plaintiff must plead facts that tend to show that “an employer

deliberately ma[de] an employee’s working conditions intolerable and thereby

forc[ed] him to quit his job.” Bryant v. Jones, 575 F.3d 1281, 1298 (11th Cir. 2009)

(quoting Munday v. Waste Mgmt. of N. Am., Inc., 126 F.3d 239, 244 (4th Cir.

1997)).Workings conditions, however, must be “so unbearable that a reasonable

person in that person’s position would be compelled to resign.” Id. (quoting Virgo

v. Riviera Beach Ass’n, Ltd., 30 F.3d 1350, 1363 (11th Cir. 1994)). It is more difficult

to make out a claim for constructive discharge than one for a hostile work

environment. Id. at 1298-99.

      Ashley argues that Plaintiffs’ constructive discharge claims should be

dismissed because Plaintiffs have failed to state a prima facie case of retaliation. A

determination that Plaintiffs did not plead a prima facie case of retaliation or that


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Ashley did not engage in unlawful retaliation does not foreclose Plaintiffs’

constructive discharge claims as plead. Plaintiffs have alleged that the sexual

harassment they experienced created a hostile work environment that rose to the

level of a constructive discharge. Thus, Ashley’s argument that Plaintiffs’

constructive discharge claims should be dismissed because they have not pled a

prima facie case of retaliation is unavailing.

       To the extent Ashley alleges that these facts would not rise to the level of a

constructive discharge as alleged, the Court finds that such a conclusion is

premature based on the notice pleading standard as Plaintiffs have alleged facts

plausibly suggesting that the alleged acts of harassment did in fact change the terms

and conditions of their employment at Ashley such that working at Ashely became

intolerable. Therefore, Ashley’s motion to dismiss is due to be denied as to

Plaintiffs’ constructive discharge claims.10

           g. SECTION 1985 CONSPIRACY

       Poague and Acker also claim that Hannan, Seavers, and Ashley are liable for

conspiracy under 42 U.S.C. § 1985. Plaintiffs do not specify which section of §

1985 they are bringing a claim under. Upon review of the amended complaint, the


10
        Ashley argues that Coleman still works at the store and thus the work environment was
not so hostile as to rise to the level of constructive discharge. Such arguments are more
appropriately addressed at the summary judgment stage.

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Court finds that Plaintiffs have alleged sufficient facts to state a claim Section

1985(2).11 Section 1985 (2) provides:

       (2) Obstructing justice; intimidating party, witness, or juror

              If two or more persons in any State or Territory conspire to
       deter, by force, intimidation, or threat, any party or witness in any
       court of the United States from attending such court, or from
       testifying to any matter pending therein, freely, fully, and truthfully, or
       to injure such party or witness in his person or property on account of
       his having so attended or testified, or to influence the verdict,
       presentment, or indictment of any grand or petit juror in any such
       court, or to injure such juror in his person or property on account of
       any verdict, presentment, or indictment lawfully assented to by him,
       or of his being or having been such juror; or if two or more persons
       conspire for the purpose of impeding, hindering, obstructing, or
       defeating, in any manner, the due course of justice in any State or
       Territory, with intent to deny to any citizen the equal protection of the
       laws, or to injure him or his property for lawfully enforcing, or
       attempting to enforce, the right of any person, or class of persons, to
       the equal protection of the laws.


42 U.S.C. § 1985(2). A plaintiff seeking to recover under the “first four clauses of

§ 1985(2)…must show a nexus between the alleged conspiracy and a proceeding in

federal court.” Bradt v. Smith, 634 F.2d 796, 801 (5th Cir. 1981) (quotations


11
        Section 1985(1) is inapplicable in this instance as there are not allegations of interference
with an officer of the US preforming duties. Section 1985 (3) is also inapplicable in this case
because “[w]hen the alleged § 1985(3) conspirators are private actors, the plaintiff must
demonstrate that the conspiracy was aimed at rights constitutionally protected against private
impairment.” Jimenez v. Wellstar Health Sys., 596 F.3d 1304, 1312 (11th Cir. 2010) “The only
rights the Supreme Court has expressly declared enforceable against private conspirators under §
1985(3) are the right to interstate travel and the right against involuntary servitude.” Id.
Therefore, Plaintiffs’ § 1985 claim in this instance can only be brought under § 1985(2).
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omitted). While a plaintiff seeking to recover under the “last two clauses of §

1985(2) … must show a racial or otherwise class-based discriminatory animus.” Id.

      Plaintiffs concede that Hannan should be dismissed from this case. (Doc. 31

at 3-4.) Therefore, Hannan’s motion to dismiss (doc. 25) is due to be granted and

Hannan dismissed from this case as no other claims are pending against him.

      As to the other Defendants, Plaintiffs have alleged sufficient facts to

maintain their § 1985(2) claims. Although Seavers and Ashley argue that Plaintiffs’

claims are barred by the intracorporate conspiracy doctrine, McAndrews v. Lockheed

Martin Corp, 206 F.3d 1031, 1036 (11th Cir. 2000), the Court finds that Plaintiffs

have plead sufficient facts indicating that the criminal conspiracy exception to the

intracorporate conspiracy doctrine may apply. Therefore, Seavers’s motion to

dismiss is due to be denied and Ashley’s motion to dismiss is due to be denied as to

Plaintiffs’ 1985(2) claim.

          h. STATE LAW TORT CLAIMS

      Plaintiffs bring state law tort claims against both Swinney and Ashley.

Plaintiffs’ tort claims against Ashley arise from Swinney’s conduct and the

conditions at Ashley. An employer will be liable for the intentional torts of its

employee if “(1) that the agent's wrongful acts were committed in the line and

scope of the agent's employment; or (2) that the acts were committed in


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furtherance of the business of the employer; or (3) that the employer participated

in, authorized, or ratified the wrongful acts.” Potts v. BE & K Constr. Co., 604 So.2d

398, 400 (Ala.1992).

      An employer ratifies the employee’s conduct if the employer expressly

adopts the behavior or implicitly approves of it. See Mardis v. Robbins Tire & Rubber

Co., 699 So.2d 885, 889 (Ala. 1995). To show that an employer ratified an

employee’s act, the plaintiff must show that the employer (1) “had actual

knowledge” of the employee’s tortious conduct towards the plaintiff; (2) that “the

employer knew, or should have known, that such conduct constituted … a tort; and

(3) that the employer failed to take adequate steps to remedy the situation.” Id.

(citing Potts, 604 So.2d at 400). Therefore, the Court will analyze Plaintiffs’ tort

claims against Swinney before discussing Ashley’s potential liability.

                i. SWINNEY

                       1. ASSAULT AND BATTERY

      Acker and Bishop bring assault and battery claims against both Swinney and

Ashely. To state a claim for assault and battery under Alabama law, a plaintiff must

prove that “(1) the defendant touched the plaintiff; (2) the defendant intended to

touch the plaintiff; and (3) that the touching was conducted in a harmful or

offensive manner.” Harper v. Winston Cty, 892 So.2d 346, 353 (Ala. 2004) (quoting


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Ex parte Atmore Cmty. Hosp., 719 So.2d 1190, 1193 (Ala. 1998)) (internal quotation

marks omitted).

      Swinney argues that this Court should dismiss Acker and Bishop’s claims

because they have not provided substantial enough evidence to plead a claim of

assault and battery. Neither Alabama law nor the motion to dismiss standard

warrants the Court reach such a conclusion if Plaintiffs have met the Rule 8

standard. In arguing for dismissal, Swinney asks this Court to disregard many of

Plaintiffs’ factual allegations because they contain “pejorative” and “color”

words. However, the Court is not entitled to disregard Plaintiffs’ use of specific

nouns to describe Swinney’s conduct and alleged touching. Moreover, to the

extent Swinney argues that this Court should ignore Plaintiffs’ “summary

allegations” as mere conclusions, the Court notes that it is only tasked with

disregarding legal conclusions at the motion to dismiss stage.

      Swinney himself admits that his behavior as alleged, if taken as true, is

“consistent with behavior which might constitute assault.” (Doc. 28 at 10.)

(emphasis in the original). Based on the facts as alleged, the Court agrees. Swinney

is alleged to have touched Acker’s breasts twice and buttocks once. Further,

Bishop alleges that Swinney leaned against her and touched her back with his

genitals. These factual allegations in the amended complaint plausibly suggest


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unwanted contact that was intentional rather than inadvertent and done in an

offensive manner.

      Swinney nevertheless argues that Plaintiffs’ claim must fail because they do

not present enough evidence to prove that this touching was intentional instead of

inadvertent. (Doc. 28 at 10.) However, the plaintiff is not required to prove the

intent of the defendant in her complaint to survive a motion to dismiss. See

Surrency v. Harbison, 489 So. 2d 1097, 1104 (Ala. 1986) (“[j]ust as it is a jury

question as to whether an assault and battery in fact occurred, it is a jury question

as to what defendant[’s] intent consisted of”). A reasonable jury may later find that

the assault and battery allegations more consistent with incidental touching as

Swinney suggests. However, the standard at the motion to dismiss stage is that a

plaintiff states a plausible claim. Plaintiffs have done so. Thus, Swinney’s motion to

dismiss is due to be denied as to Bishop and Acker’s assault and battery claims.

                       2. OUTRAGE

      The Alabama Supreme Court describes the tort of outrage as follows:

      The emotional distress caused by the defendant's conduct must be so
      severe that no reasonable person could be expected to endure it.... By
      extreme, we refer to conduct so outrageous in character and so
      extreme in degree as to go beyond all possible bounds of decency, and
      to be regarded as atrocious and utterly intolerable in a civilized society.




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Potts, 771 So.2d at 465 (internal citations and quotations omitted). To succeed on

their outrage claim, Plaintiffs must prove that (1) the defendant intended to inflict

emotional distress, or knew or should have known that emotional distress would

likely result from their conduct; (2) the defendant’s conduct was extreme and

outrageous; (3) the defendant’s actions caused her distress; and (4) the distress

was severe. Martin v. Hodges Chapel, LLC, 89 So. 3d 756, 763 (Ala. Civ. App. 2011).

“[T]he tort of outrage is an extremely limited cause of action.” Potts, 771 So.2d at

465. “It is so limited that [the Alabama Supreme Court] has recognized it in regard

to only three kinds of conduct: (1) wrongful conduct in the family-burial context;

(2) barbaric methods employed to coerce an insurance settlement; and (3)

egregious sexual harassment.” Id. (internal citations omitted).

      Plaintiffs allege sufficient facts to state a plausible claim of sexual harassment

that created a hostile work environment, which included not only lurid comments

and gestures by Swinney and a number of male employees at Ashley but also

several incidences of unwanted physical contact by Swinney. At this stage, it is not

necessary for the Court to determine whether or not Plaintiffs’ allegations against

Swinney constitute egregious sexual harassment or simple garden variety sexual

harassment, when either way Plaintiffs have provided sufficient factual support to




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plausibly state a claim for relief. Therefore, Swinney’s motion to dismiss as to

Plaintiffs’ outrage claim is due to be denied.

                ii. ASHLEY

                       1. ASSAULT, BATTERY,         AND OUTRAGE


      Ashley contends Plaintiffs’ assault and battery, and outrage claims against it

are due to be dismissed because “[t]here is no evidence that Swinney acted in the

line and scope of his employment or in furtherance of [Ashley]’s business . . . [and

there is] no evidence or allegation that [Ashley] knew of [his] conduct.” (Doc. 30 at

40-41.) However, Plaintiffs have included sufficient factual allegations to plausibly

suggest that Ashley knew of and ratified Swinney’s conduct. Plaintiffs’ factual

allegations indicate that Plaintiffs lodged complaints, both formal and informal,

about Swinney’s actions, including his alleged physical contacts and sexually

charged comments, to Ashley and the EEOC on a number of occasions before he

was terminated. Acker’s EEOC charge, which was one of the last EEOC charges

filed concerning Swinney’s behavior, predated Swinney’s termination by almost

two months. These facts plausibly suggest that Ashley had an awareness of

Swinney’s conduct for months before it took action to terminate him for his

conduct. Therefore, Ashley’s motion to dismiss is due to be denied as to Plaintiffs’

claims for assault and battery, and outrage.


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                      2. NEGLIGENT/ WANTON HIRING, TRAINING,                   AND
                         SUPERVISION

      Plaintiffs assert claims against Ashley based upon its alleged negligence or

wantonness associated with its hiring, training, supervision, and retention of

Swinney. To establish a claim for negligent or wanton supervision under Alabama

law a plaintiff must show that “(1) the employee committed a tort recognized

under Alabama law, (2) the employer had actual notice of this conduct or would

have gained such notice if it exercised due and proper diligence, and (3) the

employer failed to respond to this notice adequately.” Shuler v. Ingram & Assocs.,

710 F.Supp.2d 1213, 1228 (N.D. Ala. 2010); see also Voyager Ins. Cos. v. Whitson,

867 So.2d 1065, 1071–73 (Ala. 2003).

      As discussed above Plaintiffs’ amended complaint states a plausible claim for

relief on the torts of assault and battery, and outrage. Therefore, the first

requirement is met. Further, Plaintiffs have alleged facts indicating that they

reported Swinney’s behavior several times, but that Ashley did not take action until

Bishop played her recording of Swinney for Express. These facts suggest that

Ashley had actual knowledge in regard to Swinney’s tortious or that at the very

least Swinney’s behavior was of such frequency that it should have been

discoverable by Ashley “in the exercise of due care.” Lane v. Cent. Bank of Ala.,

N.A., 425 So.2d 1098, 1100 (Ala. 1983) (quoting Thompson v. Havard, 235 So.2d

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853, 858 (1970)). Although wantonness requires a higher degree of consciousness

that injury is likely to result, the Court finds that the facts as alleged also state a

plausible claim as Plaintiffs have alleged facts indicating that Ashely knew of

Swinney’s behavior, but did not take action. Therefore, Ashley’s motion to dismiss

is due to be denied as to Plaintiffs’ claims’ for wanton/ negligent training and

supervision.

   IV.     CONCLUSION

      For the reasons stated above, Hannan’s Motion to Dismiss is due to be

GRANTED (doc. 25), Seavers’s Motion to Dismiss (doc. 26) is due to be

DENIED, Swinney’s Motion to Dismiss (doc. 28) is due to be DENIED, and

Ashley’s Motion to Dismiss (doc. 29) is due to be GRANTED in part and

DENIED in part. An Order consistent with this Opinion will be entered

contemporaneously herewith.

      DONE and ORDERED on February 20, 2019.


                                               _____________________________
                                                       L. Scott Coogler
                                                  United States District Judge
                                                                                  195126




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